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IN THE UNITED sTATEs DISTRICT coURT *'""‘~*1*~" jim il*.C.
FOR THE wEsTERN DISTRICT oF TENNESSEE
wESTERN DIVISION 05 AUG 2b PH 12: 37
CLEP.F<. 113 ‘;sr' ',zcoum
V-H,‘D 515 ;7":` ?,“EI'¢{PHIS

ASAD EL-AMIN MUJIHADEEN,
Plaintiff,
VS. NO. 03-2044-D/An

TENNESSEE BOARD OF PROBATION
AND PAROLES, et al.,

Defendants.

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ORDER GRANTING MOTION FOR EXTENSION OF TIME

 

On June 13, 2005, defendants filed a motion for a forty-
five (45) day extension of time, until July 28, 2005, to respond to
interrogatories and document requests served by the plaintiff.
Plaintiff filed a response in opposition to that motion on June 13,
2005, which was mislabeled as a motion rather than a response to a
motion. Although it would have been preferable for defense counsel
to provide some reason for her request for additional time, this is

a first motion and the amount of time requested is not

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unreasonable. Accordingly, the Court GRANTS defendants motion for

an extension of time.

IT IS SO ORDERED this éz day of August, 2005.

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I E B.'DONALD' ‘
ITED sTATEs DISTRICT JUDGE

    

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 102 in
case 2:03-CV-02044 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

